                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION


                                            )
SECURITIES AND EXCHANGE                     )
COMMISSION,                                 )
                                            )
                Plaintiff,                  )
                                            )
       vs.                                  )
                                            )               No. 3:12-CV-519
REX VENTURE GROUP, LLC                      )
d/b/a ZEEKREWARDS.COM, and                  )
PAUL BURKS,                                 )
                                            )
              Defendants,                   )
                                            )
                                            )

MOTION TO UNSEAL RECEIVER’S SEALED MOTION AND MEMORANDUM AND
                    COURT’S SEALED ORDER

       Kenneth D. Bell, Court-appointed Receiver (“Receiver”) of Rex Venture Group, LLC

d/b/a ZeekRewards.com (“RVG” or “Rex Venture Group”), respectfully requests that the Court

unseal the Sealed Motion and Memorandum submitted to the Court on Thursday, February 11,

2016, along with the Sealed Order signed and issued by the Court on Friday, February 12, 2016.

       The Receiver reports that the funds subject to the Court’s Sealed Order have been frozen,

and pursuant to the Sealed Order, the previously sealed filings may now be unsealed and filed in

the Court’s electronic docket.



       Respectfully submitted this 16th day of February, 2016.




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                            By:     /s/ Matthew E. Orso
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                                  Court-appointed Receiver for Rex Venture
                                  Group, LLC d/b/a ZeekRewards.com




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                                CERTIFICATE OF SERVICE

       I hereby certify that I filed the foregoing electronically, which will serve the attorneys for

parties authorized to receive service through the Court’s electronic docketing system.




        This the 16th day of February, 2016.



                                              /s/ Matthew E. Orso
                                             Matthew E. Orso




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